Gerry Ruff

C/O 551 Vista Drive

Gahanna, Ohio [43230]




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                      COLUMBUS




GERRY RUFF
      Plaintiff
                                                 CASE ~       :    2 2 CV O1 1 4
      vs

PORTFOLIO RECOVERY
 ASSOCIATES, LLC                                 JUDGE:
                                                                  'I...kdge Sa. ~cru&
         Defendant.                                                                 Gill
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                                                   -11..t\GISTRATE JUDGE JOLSON
                                                                              _ _,J .




                                                 TCPA,FDCPA




                              JURISDICTION
  1. This action arise out of Defendants violation of the Fair Debt Collection Practice

      Act, 15 U.S.C 1692 et seq ("FDCPA"), and the harassment of Plaintiff by

      Defendants and its agents in their illegal efforts to collect a consumer debt.

  2. Supplemental jurisdiction exist pursuant to 28 U. S.C 1367.
      3. Venue is proper in this District pursuant to 28    U.S.C 1391(b), in that the
         Defendant transact business in this District and a substantial portion of the acts

         giving rise to this action occurred in this District.

                                        PARTIES

      4. The Plaintiff, Gerry Ruff ("Plaintiff''), is a natural person residing in Columbus ,

         Ohio, and is a "consumer" as the term is defined by 15 U.S.C 1692a(3).

      5. Defendant PORTFOLIO RECOVERY ASSOCIATES, LLC. is a foreign limited

         liability company servicing agent address of CORPORATION SERVICE

         COMPANY 50 WEST BROAD STREET SUITE 1330 COLUMBUS OH 43215, United

         States, operating as a collection agency, and is a "debt collector" as the tenn is defined by

         15 U.S.C 1692a(6).

                                           PRELIMINARY STATEMENT
  6.     This is an action for statutory damages brought by Plaintiff against Defendant for

         Violations of the Fair Debt Collection Practices Act (FDCPA)15 U.S.C. § 1692 e(2)(A)

  7.     This is an action for statutory damages brought by Plaintiff against Defendant for

          Violations of the Telephone Consumer Protection Act (TCPA) 47 U.S.C. § 227.

  8.     This is an action for Statutory damages brought by Plaintiff against Defendant.


                                        FACTUAL ALLEGATIONS
  9.     On Januaray 8, 2021 i received a phone call from Defendant PORTFOLIO

         RECOVERY ASSOCIATES, LLC on my cellular device.

10.      Around July 2021 after being denied credit, i plaintiff requested a copy of my

         credit file.
11.     I plaintiff reviewed my credit file and noticed an account that i have no knowledge

        about being reported by PORTFOLIO RECOVERY ASSOCIATES, LLC.

12.     On August 18, 2021 i received a phone call from Defendant PORTFOLIO

        RECOVERY ASSOCIATES, LLC on my cellular device.

13.     On November 17, 2021 i received a phone call from Defendant PORTFOLIO

        RECOVERY ASSOCIATES, LLC on my cellular device.

14.     On November 18, 2021 i received a phone call from Defendant PORTFOLIO

        RECOVERY ASSOCIATES, LLC on my cellular device.

15.     On November 17, 2021 i received a phone call from Defendant PORTFOLIO

        RECOVERY ASSOCIATES, LLC on my cellular device.



                     COUNTl
         VIOLATION OF FAIR DEBT COLLECTION
  PRACTICES ACT (FDCPA) 15 U.S.C . § 1692 e(2)(A) BY DEFENDANT
        PORTFOLIO RECOVERY ASSOCIATES, LLC

16.    Plaintiff alleges and incorporates the information in paragraphs 1 through 15.

17.    Plaintiff Gerry Ruff have never entered into any contract with Defendant PORTFOLIO

        RECOVERY ASSOCIATES, LLC.

18.     Plaintiff have no financial obligation to defendant.

19.    Defendants violated 15 U.S.C. §1692 e(2)(A) by misrepresenting the character and

       amount of a debt on plaintiff credit file.

WHEREFORE, Plaintiff demands judgment for statutory damages of $1,000.00 One Thousand

Dollars and the alleged debt to be cleared from Plaintiff credit file with Injunctive relief.
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                                   COUNT2
                    VIOLATION OF TELEPHONE CONSUMER
                    PROTECTION ACT 47 U.S.C. § 2277 U.S.C (b) (l)(A)(iii)

    20.     Plaintiff alleges and incorporates the information in paragraphs 1 through 19.

    21 .    On Janury 18, 2021 , August 18, 2021 , November 17, 2021, November 18, 2021 ,

            November 19, 2021 plaintiff received unsolicited call on his cellular

            device from the defendant without plaintiffs expressed written consent.




    WHEREFORE, Plaintiff demands judgment for statutory damages against defendant for

    $500.00 per violation totaling $2,500.00 Two Thousand and five hundred Dollars and the

    alleged debt to be cleared from Plaintiff credit file with Injunctive relief.




    WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that judgment be entered against
    Defendants for all damages allowable (including statutory, actual, compensatory, nominal and
    punitive the total of which Plaintiff claims more than $3500.00), costs, expenses, attorney fees ,
    injunctive relief to prevent further violations, and the alleged debt to be cleared from plaintiff
    credit file with prejudice.



    Respectfully Submitted,
